           Case 4:17-cv-00396-JED-FHM Document 1 Filed in USDC ND/OK on 07/10/17 Page 1 of 1
JS 44 (Rev. 09/11)                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
       KEVIN RIDER                                                                                     CAPITAL ACCOUNTS, LLC

   (b) County of Residence of First Listed Plaintiff            TULSA                                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.



   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
       Victor R. Wandres, Paramount Law, 4835 S. Peoria, Suite 1,
       Tulsa, OK 74105 (918) 200-9272
II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                   (For Diversity Cases Only)                                        and One Box for Defendant)
  1    U.S. Government                 3 Federal Question                                                                   PTF        DEF                                          PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                      Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                of Business In This State

  2    U.S. Government                 4 Diversity                                            Citizen of Another State            2         2   Incorporated and Principal Place         5       5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                              Citizen or Subject of a             3         3   Foreign Nation                           6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT                  (Place an “X” in One Box Only)
         CONTRACT                                           TORTS                               FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY               PERSONAL INJURY              625 Drug Related Seizure              422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                  365 Personal Injury -            of Property 21 USC 881            423 Withdrawal                    400 State Reapportionment
  130 Miller Act                     315 Airplane Product              Product Liability        690 Other                                 28 USC 157                    410 Antitrust
  140 Negotiable Instrument               Liability                367 Health Care/                                                                                     430 Banks and Banking
  150 Recovery of Overpayment        320 Assault, Libel &              Pharmaceutical                                                  PROPERTY RIGHTS                  450 Commerce
      & Enforcement of Judgment           Slander                      Personal Injury                                                820 Copyrights                    460 Deportation
  151 Medicare Act                   330 Federal Employers’            Product Liability                                              830 Patent                        470 Racketeer Influenced and
  152 Recovery of Defaulted               Liability                368 Asbestos Personal                                              840 Trademark                         Corrupt Organizations
      Student Loans                  340 Marine                        Injury Product                                                                                   480 Consumer Credit
      (Excl. Veterans)               345 Marine Product                Liability                          LABOR                         SOCIAL SECURITY                 490 Cable/Sat TV
  153 Recovery of Overpayment             Liability              PERSONAL PROPERTY               710 Fair Labor Standards             861 HIA (1395ff)                  850 Securities/Commodities/
      of Veteran’s Benefits          350 Motor Vehicle             370 Other Fraud                   Act                              862 Black Lung (923)                  Exchange
  160 Stockholders’ Suits            355 Motor Vehicle             371 Truth in Lending          720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))            890 Other Statutory Actions
  190 Other Contract                     Product Liability         380 Other Personal            740 Railway Labor Act                864 SSID Title XVI                891 Agricultural Acts
  195 Contract Product Liability     360 Other Personal                Property Damage           751 Family and Medical               865 RSI (405(g))                  893 Environmental Matters
  196 Franchise                          Injury                    385 Property Damage               Leave Act                                                          895 Freedom of Information
                                     362 Personal Injury -             Product Liability         790 Other Labor Litigation                                                 Act
                                         Med. Malpractice                                        791 Empl. Ret. Inc.                                                    896 Arbitration
      REAL PROPERTY                     CIVIL RIGHTS            PRISONER PETITIONS                   Security Act                      FEDERAL TAX SUITS                899 Administrative Procedure
  210 Land Condemnation              440 Other Civil Rights        510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act/Review or Appeal of
  220 Foreclosure                    441 Voting                        Sentence                                                            or Defendant)                    Agency Decision
  230 Rent Lease & Ejectment         442 Employment                Habeas Corpus:                                                     871 IRS—Third Party               950 Constitutionality of
  240 Torts to Land                  443 Housing/                  530 General                                                             26 USC 7609                      State Statutes
  245 Tort Product Liability             Accommodations            535 Death Penalty                  IMMIGRATION
  290 All Other Real Property        445 Amer. w/Disabilities -    540 Mandamus & Other          462 Naturalization Application
                                         Employment                550 Civil Rights              463 Habeas Corpus -
                                     446 Amer. w/Disabilities -    555 Prison Condition              Alien Detainee
                                         Other                     560 Civil Detainee -              (Prisoner Petition)
                                     448 Education                     Conditions of             465 Other Immigration
                                                                       Confinement                   Actions

V. ORIGIN                (Place an “X” in One Box Only)
                                                                                                      Transferred from
  1 Original  2 Removed from              3 Remanded from               4 Reinstated or           5 another district             6 Multidistrict
    Proceeding  State Court                    Appellate Court              Reopened                  (specify)                      Litigation
                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                        15 U.S.C. Sec. 1692
VI. CAUSE OF ACTION Brief description of cause:
                        Unlawful debt collection practices
VII. REQUESTED IN           CHECK IF THIS IS A CLASS ACTION                   DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:             UNDER     F.R.C.P.  23                                                                        JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)                     (See instructions):
      IF ANY                                                     JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD

June 28, 2017                                                        /s/Victor R. Wandres, OBA #19591
FOR OFFICE USE ONLY

 RECEIPT #                      AMOUNT                                 APPLYING IFP                                     JUDGE                           MAG. JUDGE
